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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                   ALEXANDRIA DIVISION

ARAFAT AHMED #A220-483-420                          CIVIL DOCKET NO. 1:24-1111 SEC P

VERSUS                                              JUDGE TERRY A. DOUGHTY

WARDEN                                              MAG. JUDGE PEREZ-MONTES

                                         JUDGMENT
       The Report and Recommendation of the Magistrate Judge [Doc. No. 22] having been

considered, along with the Objection [Doc. No. 23] filed by Plaintiff Arafat Ahmed (“Ahmed”)

and after a de novo review of the record, agreeing with the findings of the magistrate judge under

applicable law,

       IT IS ORDERED, ADJUDGED, AND DECREED that because Ahmed does not allege

a viable constitutional claim for property loss or the denial of equal protection, the claims against

Officer Timms and the Warden [Doc. Nos. 1, 16] are DISMISSED WITH PREJUDICE.

Ahmed’s claims of medical care deprivation against Nurses Paula Gates, Kim Fannin, and Ali

Higgins, and his failure to protect claim against Officer Sherman, will be addressed separately.

       MONROE, LOUISIANA, this 11th day of March 2025.




                                                      ____________________________________
                                                      TERRY A. DOUGHTY
                                                      UNITED STATES DISTRICT JUDGE
